                          EXHIBIT B




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Pendy Restaurant Ledger
As Of:    7/2/2025

          Date      Amount       Payment       Balance                Comment
          1/1/2025 $ 737.53                  $    737.53 2024 Taxes & Insurance (True Up)
          1/1/2025 $ 6,000.00                $ 6,737.53 Jan Rent
                   $ 1,996.00                $ 8,733.53 Jan Taxes & Insurance
          1/8/2025 $ 436.68                  $ 9,170.21 Jan Late Charge (5% of Balance)
         1/16/2025              $ 3,000.00   $ 6,170.21
          2/1/2025 $ 6,000.00                $ 12,170.21 Feb Rent
          2/1/2025 $ 1,996.00                $ 14,166.21 Feb Taxes & Insurance
          2/3/2025              $ 8,000.00   $ 6,166.21
          2/8/2025 $ 308.31                  $ 6,474.52 Feb Late Charge (5% of Balance)
         2/21/2025              $ 3,000.00   $ 3,474.52
          3/1/2025 $ 6,000.00                $ 9,474.52 Mar Rent
          3/1/2025 $ 1,996.00                $ 11,470.52 Mar Taxes & Insurance
          3/8/2025 $ 573.53                  $ 12,044.04 Mar Late Charge (5% of Balance)
         3/25/2025 $ 2,877.36                $ 14,921.40 Unpaid GPW water bill as 3/25/25
          4/1/2025 $ 6,000.00                $ 20,921.40 Apr Rent
          4/1/2025 $ 1,996.00                $ 22,917.40 Apr Taxes & Insurance
          4/8/2025 $ 1,145.87                $ 24,063.27 Apr Late Charge (5% of Balance)
          5/1/2025 $ 6,000.00                $ 30,063.27 May Rent
          5/1/2025 $ 2,132.00                $ 32,195.27 May Taxes & Insurance
          5/8/2025 $ 1,609.76                $ 33,805.04 May Late Charge (5% of Balance)
          6/1/2025 $ 6,000.00                $ 39,805.04 June Rent
          6/1/2025 $ 2,132.00                $ 41,937.04 June Taxes & Insurance
          6/8/2025 $ 2,096.85                $ 44,033.89 June Late Charge (5% of Balance)
         6/10/2025              $ 4,000.00   $ 40,033.89
         6/16/2025              $ 4,732.00   $ 35,301.89
          7/1/2025 $ 6,000.00                $ 41,301.89 July Rent
          7/1/2025 $ 2,132.00                $ 43,433.89 June Taxes & Insurance
          7/8/2025 $ 2,171.69                $ 45,605.58 July Late Charge (5% of Balance)




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